                            United States District Court
                           Middle District of Pennsylvania
                               Harrisburg Division

The PUBLIC INTEREST LEGAL
FOUNDATION,

                                             Plaintiff,
    v.

LEIGH M. CHAPMAN, in her official
capacity as Acting Secretary of the                       No. 1:19-cv-00622-CCC
Commonwealth of Pennsylvania, and
JONATHAN M. MARKS, in his official
capacity as Deputy Secretary for Elections and
Commissions,

                                         Defendants.


                Plaintiff’s Motion for an Order to Show Cause under
                          Federal Rule of Civil Procedure 11

         Pursuant to Rule 11(c)(2) of the Federal Rules of Civil Procedure, Plaintiff

Public Interest Legal Foundation (“Foundation”) moves the Court to impose

sanctions on Defendants and/or their counsel for presenting a motion and

statements for an “improper purpose” under Fed. R. Civ. P. 11(b)(1).

         Defendants moved to enlarge their deadlines for post-judgment motions

based on their representation of a specific need for additional time to produce

supplemental information to the Foundation in advance of the established briefing

deadlines. (Doc. 117.) The Court granted the motion, in part (Doc. 119), over the

Foundation’s objections (Doc. 118). Defendants failed to produce that information
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or communicate with the Foundation about it in any way. 1 The Foundation

remains in the dark concerning the nature of this “supplemental information.”

      Defendants’ motion to enlarge deadlines caused “unnecessary delay” in an

already severely protracted action and “needlessly increased the cost of litigation,”

Fed. R. Civ. P. 11(b)(1), by forcing the Foundation and the Court to devote

resources opposing and resolving the motion, respectively. More importantly,

Defendants’ delay and failure to produce the information caused yet another

federal election to occur without the transparency Congress intended. See 52

U.S.C. § 20507(i)(1).

      Because Defendants did not produce the information that formed the basis of

their motion, the Court should conclude that the motion was made for an

“improper purpose” under Fed. R. Civ. P. 11(b)(1) and impose sanctions on

Defendants and/or their counsel. The Plaintiff defers to the Court as to what



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  To be clear, the Foundation does not concede that the so-called supplemental
information Defendants committed to producing has any bearing on the post-
judgment motions. “It is axiomatic that reply briefs should respond to the
respondent’s arguments or explain a position in the initial brief that the respondent
has refuted.” Cornerstone Residence Inc. v. City of Clairton, Pa., Civil Action No.
17-706, 2018 U.S. Dist. LEXIS 2068, at *12 (W.D. Pa. Jan. 5, 2018). For these
reasons, “it is well established that new arguments cannot be raised for the first
time in reply briefs.” Jurista v. Amerinox Processing, Inc., 492 B.R. 707, 779
(D.N.J. 2013); see also Anspach v. City of Phila., 503 F.3d 256, 258 n.1 (3d Cir.
2007) (“Absent compelling circumstances not present here, failure to raise an
argument in one’s opening brief waives it.”). Defendants’ apparent plan to
introduce new evidence along with a reply brief is far more inappropriate.
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sanctions would be appropriate but respectfully requests ordering payment of the

attorney’s incurred by the Foundation responding to the motion to enlarge

deadlines and filing this motion for sanctions, and any other penalty the Court

deems necessary to deter similar conduct in the future.

                                     ARGUMENT

   I.      Federal Rule of Civil Procedure 11.

        (b) By presenting to the court a pleading, written motion, or other
        paper—whether by signing, filing, submitting, or later advocating it—
        an attorney or unrepresented party certifies that to the best of the
        person’s knowledge, information, and belief, formed after an inquiry
        reasonable under the circumstances:
        (1) it is not being presented for any improper purpose, such as to harass,
        cause unnecessary delay, or needlessly increase the cost of litigation;

Fed. R. Civ. P. 11(b)(1). “If, after notice and a reasonable opportunity to respond,

the court determines that Rule 11(b) has been violated, the court may impose an

appropriate sanction on any attorney, law firm, or party that violated the rule or is

responsible for the violation.” Fed. R. Civ. P. 11(c)(1). “A sanction imposed under

this rule must be limited to what suffices to deter repetition of the conduct or

comparable conduct by others similarly situated.” Fed. R. Civ. P. 11(c)(4). “In

evaluating a Rule 11 motion for sanctions, a district court must determine whether

the attorney’s conduct was objectively reasonable under the circumstances.”

Kocher v. Larksville Borough, No. 3:CV-11-2053, 2013 U.S. Dist. LEXIS 68876,

at *3-4 (M.D. Pa. May 15, 2013) (citing Ario v. Underwriting Members of


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Syndicate 53 at Lloyds for the 1998 Year of Account, 618 F.3d 277, 297 (3d Cir.

2010)).

   II.      Defendants and Their Counsel Justified the Initial Briefing Schedule
            on Their Commitment to Producing Supplemental Information to
            the Foundation.

         Following unsuccessful mediation, the parties jointly moved on October 6,

2022 to establish deadlines for remaining post-judgment motions and motions for

attorney’s fees. (Doc. 115.) As Defendants explained, “The revised briefing

deadlines … were proposed jointly by the parties based upon Defendants’

commitment to supplement its production of information to Plaintiff ….” (See Doc.

117 ¶ 2 (emphasis added).) Yet Defendants did not produce that information to the

Foundation.

   III.     Defendants and Their Counsel Justified the Motion to Enlarge
            Deadlines on Their Need for Additional Time to Produce the
            Supplemental Information to the Foundation.

         On October 20, 2022, five days before the parties’ first deadline under the

revised briefing schedule, Defendants moved to enlarge the established deadlines.

(Doc. 117.) Defendants claimed that due to the upcoming election and other

unidentified “emergency election matters,” Defendants “need[ed] additional time

to assemble and produce the supplemental information in advance of the new

briefing deadlines.” (Doc. 117 ¶ 3.) Defendants also gave a separate but related

justification for the requested enlargement: “to allow for Plaintiff’s review of the


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information prior to the additional briefing[.]” (Doc. 117 ¶ 6.) Although the Court

extended Defendants’ deadlines by more than two additional weeks (Doc. 119),

Defendants did not produce that information to the Foundation.

   IV.   Defendants Violated Rule 11(b).

      Defendants committed to producing additional information to the

Foundation and used that commitment as a reason to set and enlarge briefing

deadlines. Defendants represented to the Court and the Foundation that they would

produce additional information to the Foundation in advance of established

briefing deadlines. Defendants did not.

      Defendants’ motion to enlarge deadlines caused “unnecessary delay” in an

already severely protracted action, and “needlessly increased the cost of litigation,”

Fed. R. Civ. P. 11(b)(1), by forcing the Foundation and the court to devote

resources opposing and resolving the motion, respectively. More importantly,

Defendants’ delay and failure to produce the information caused yet another

federal election to occur without the transparency Congress intended. See 52

U.S.C. § 20507(i)(1).

      Defendants will predictably use “the election” as an excuse justifying their

delay. The Court should ignore this tired refrain. Elections happen twice per year,

every year, in the Commonwealth of Pennsylvania. Elections do not sneak up on

anyone. In fact, Defendants chose the initial deadlines will full knowledge that the


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election was approaching. In any event, “the election” is not a trump card or a get-

out-of-jail-free card, much less a card that can justify Defendants’ failure to

produce information they promised both the Court and the Foundation they would

produce. 2

         During routine litigation, a delay of two-plus weeks may not be significant,

especially when the case moves efficiently. Here, we have a public records dispute

that has now entered its sixth year. Commonwealth of Pennsylvania voters

participated in ten elections since the Foundation requested the underlying records.

In this litigation, an unnecessary delay of two-plus weeks prejudiced the

Foundation. In reality, Defendants have had years to produce records to the

Foundation and should have done so much earlier. Yet even now, after the Court

has ordered them to produce the records, Defendants continue to engage in

unjustified delay.

         Defendants and their counsel appear to have misrepresented their intentions

to the Court and the Foundation, causing needless delay, increasing the cost of this

litigation, and further keeping the public in the dark about the government’s

activities. Defendants’ behavior warrants sanctions.

    V.       The Court Should Order Defendants and/or Their Counsel to Pay
             the Foundation’s Attorney’s Fees.

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  It would also be quite ironic and backwards for the Secretary of State to claim she
is too busy conducting an election to comply with federal law (and this Court’s
order) designed to make voter registration transparent.
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      “A sanction imposed under this rule must be limited to what suffices to deter

repetition of the conduct or comparable conduct by others similarly situated.” Fed.

R. Civ. P. 11(c)(4). Here, what suffices to deter repetition is ordering Defendants

and/or their counsel to pay the attorney’s fees incurred by the Foundation in

responding to the motion for enlargement and filing this motion for sanctions.

                                  CONCLUSION

      For these reasons, the Foundation respectfully asks for an order to show

cause for the above-described conduct of Defendants’ counsel.

                                Respectfully submitted,
                                For the Plaintiff Public Interest Legal Foundation:

                                  /s/ Linda A. Kerns
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                              Certificate of Service

      I hereby certify that on November 11, 2022, I electronically filed the

foregoing using the Court’s ECF system, which will serve notice on all parties.



                                               /s/ Linda A. Kerns
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                                             Counsel for Plaintiff




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